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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMEERA SHAHEED and
EARL DICKERSON,

Plaintiffs,

V. Civil Action No. 21-1333-CFC
CITY OF WILMINGTON, FIRST
STATE TOWING, LLC and CITY
TOWING SERVICES, LLC,

Nee ee eS

Defendants.
ORDER SETTING RULE 16(b) CONFERENCE

l. A telephonic scheduling conference pursuant to Fed. R. Civ. P. 16(b)
will be held on Thursday, February 17, 2022 at 10:30 a.m. Counsel
for Plaintiffs shall coordinate the call and email the dial-in
information to chambers at cfc_civil@ded.uscourts.gov.

2. The parties shall confer about scheduling and discovery limitations,
and attempt to reach agreement. The parties shall use as a basis for
discussion the Court’s “Rule 16 Scheduling Order for Non-Patent
Cases” (revised on March 2, 2020), available on the Court’s website.
No later than 48 hours before the scheduling conference, the parties
shall file a proposed scheduling order using the “Rule 16 Scheduling
Order for Non-Patent Cases” form. If the parties have no disputes
about the scheduling order, the Court will not require the parties to
appear at a conference.

3. The parties shall direct any requests or questions regarding the
scheduling or management of this case to the Court’s Case Manager at
(302) 573-6129.

wee (hf Zo.

Date 7 Chief Judge
